      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 1 of 47




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

TAHJAE FANIEL, individually and on               §
behalf of all others similarly situated,         §
                                                 §
                       Plaintiff,                §
v.                                               §       Case No. _________________________
                                                 §
OAKBEND MEDICAL CENTER,                          §
                                                 §
                       Defendant.                §

                                 CLASS ACTION COMPLAINT

       Plaintiff Tahjae Faniel, individually and on behalf of all others similarly situated, bring this

action against Defendant OakBend Medical Center (“OakBend” or “Defendant”) a Texas

Corporation. Plaintiff seeks to obtain damages, restitution, and injunctive relief for the Class, as

defined below, from Defendant. Plaintiff makes the following allegations upon information and

belief, except as to her own actions, the investigation of her counsel, and the facts that are a matter

of public record.

                                    NATURE OF THE ACTION

       1.      This class action arises out of the recent targeted cyberattack and data breach (“Data

Breach”) on Defendant’s networks that resulted in unauthorized access to highly sensitive patient

data.1 As a result of the Data Breach, Plaintiff and 500,000 Class Members, 2 suffered ascertainable

losses in the form of the loss of the benefit of their bargain, out-of-pocket expenses, and the value




1
      Exhibit     1,    (“Website     Notice    of      Privacy      Incident”),   available  at
https://www.oakbendmedcenter.org/wp-content/uploads/2022/11/11-10-22-PDF-Website-
Breach-Notice-Revised.pdf (last accessed Nov. 22, 2022).
2
  U.S.            DHHS             OFFICE              FOR              CIVIL            RIGHTS,
https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed Nov. 20, 2022).


                                                     1
      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 2 of 47




of their time reasonably incurred to remedy or mitigate the effects of the attack, emotional distress,

and the imminent risk of future harm caused by the compromise of their sensitive personal

information.

       2.       In addition, Plaintiff and Class Members’ sensitive personal information—which

was entrusted to Defendant, its officials, and its agents—was compromised and unlawfully

accessed due to the Data Breach.

       3.       Information compromised in the Data Breach includes names, addresses, email

addresses, date of birth, Social Security Numbers, (“PII”), and medical information (“PHI”).3 The

PII and PHI that Defendant collected and maintained will be collectively referred to as the “Private

Information.”

       4.       Defendant OakBend Medical Center provides medical services in Houston and

surrounding areas.4 With over 50 locations and 1,200 employees, Defendant provides services to

hundreds of thousands of patients annually.5

       5.       Plaintiff brings this class action lawsuit on behalf of herself and those similarly

situated to address Defendant’s inadequate safeguarding of her and Class Members’ Private

Information that Defendant collected and maintained, and for Defendant’s failure to (1) provide

timely and adequate notice to Plaintiff and other Class Members that their Private Information had

been subject to the unauthorized access of an unknown third party, and (2) identify precisely what

specific type of information was accessed.

       6.       Defendant maintained the Private Information in a negligent and/or reckless

manner. In particular, the Private Information was maintained on Defendant’s computer system


3
  Exhibit 2, (“Faniel Notice Letter”)
4
  Facts, OAKBEND MEDICAL CENTER, https://www.oakbendmedcenter.org/facts/ (last
visited Nov. 21, 2022).
5
  Id.
                                                  2
      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 3 of 47




and network in a condition vulnerable to cyberattacks. Upon information and belief, the

mechanism of the cyberattack and potential for improper disclosure of Plaintiff’s and Class

Members’ Private Information was a known risk to Defendant, and thus Defendant was on notice

that failing to take steps necessary to secure the Private Information from those risks left that

property in a dangerous condition.

       7.      In addition, on information and belief, Defendant and its employees failed to

properly monitor the computer network and IT systems that housed the Private Information.

       8.      Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct because the Private Information that Defendant collected and maintained is now

in the hands of data thieves.

       9.      Armed with the Private Information accessed in the Data Breach, data thieves can

commit a variety of crimes including opening new financial accounts in Class Members’ names,

taking out loans in Class Members’ names, using Class Members’ names to obtain medical

services, using Class Members’ health information to target other phishing and hacking intrusions

based on their individual health needs, using Class Members’ information to obtain government

benefits, filing fraudulent tax returns using Class Members’ information, obtaining driver’s

licenses in Class Members’ names but with another person’s photograph, and giving false

information to police during an arrest.

       10.     As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiff and Class Members must now

and in the future closely monitor their financial accounts to guard against identity theft.




                                                  3
      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 4 of 47




        11.     Plaintiff and Class Members may also incur out of pocket costs for purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.

        12.     By this Complaint, Plaintiff seeks to remedy these harms on behalf of themselves

and all similarly situated individuals whose Private Information was accessed during the Data

Breach.

        13.     Plaintiff seeks remedies including, but not limited to, compensatory damages,

treble damages, punitive damages, reimbursement of out-of-pocket costs, and injunctive relief

including improvements to Defendant’s data security systems, future annual audits, and adequate

credit monitoring services funded by Defendant.

        14.     Accordingly, Plaintiff brings this action against Defendant seeking redress for its

unlawful conduct, and asserting claims for: (i) negligence, (ii) negligence per se; (iii) breach of

implied contract; (iv) unjust enrichment; (v) intrusion upon seclusion/invasion of privacy, and (vi)

breach of fiduciary duty.

                                         THE PARTIES

        15.     Plaintiff Tahjae Faniel is a natural person, resident, and a citizen of the State of

Texas. She has no intention of moving to a different state in the immediate future. Plaintiff Faniel

is acting on her own behalf and on behalf of others similarly situated. Defendant obtained and

continues to maintain Plaintiff Faniel’s Private Information and owed him a legal duty and

obligation to protect that Private Information from unauthorized access and disclosure. Plaintiff

Faniel would not have entrusted her Private Information to Defendant had She known that

Defendant failed to maintain adequate data security. Plaintiff Faniel’s Private Information was

compromised and disclosed as a result of Defendant’s inadequate data security, which resulted in

the Data Breach.
                                                 4
          Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 5 of 47




           16.   Plaintiff received a notice letter from Defendant dated October 30, 2022, stating

that on September 1, 2022, “we learned that cyber criminals had gained unauthorized access into

various components of the OakBend Medical Center (“OakBend”) computer network and that

certain servers and computers were encrypted..”

           17.   Defendant OakBend Medical Center, LLC is a Texas corporation with a registered

office in Fort Bend County–at 1705 Jackson St., Richmond, Texas 77469.

                                   JURISDICTION AND VENUE

           18.   This Court has jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1332(d)(2),

because (a) there are 100 or more Class members, (b) at least one Class member is a citizen of a

state that is diverse from Defendant, and (c) the matter in controversy exceeds $5,000,000,

exclusive of interest and costs.

           19.   This Court has personal jurisdiction over the Defendant named in this action

because Defendant is headquartered in this District and Defendant conducts substantial business

in Texas and this District through its headquarters, offices, parents, and affiliates.

           20.   Venue is proper in this District under 28 U.S.C. §1391(b) because Defendant and/or

its parents or affiliates are headquartered in this District and a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this District.

                                    DEFENDANT’S BUSINESS

           21.   Defendant OakBend Medical Center provides medical services in Houston and

surrounding areas.6 With over 50 locations and 1,200 employees, Defendant provides services to

hundreds of thousands of patients annually.7




6
    Id.
7
    Id.
                                                  5
      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 6 of 47




       22.      On information and belief, in the ordinary course of medical care and medical

billing, Defendant maintains the Private Information of patients and customers, including but not

limited to:

              • Name, address, phone number and email address;

              • Date of birth;

              • Demographic information;

              • Social Security number;

              • Financial information;

              • Information relating to individual medical history;

              • Information concerning an individual’s doctor, nurse, or other medical providers;

              • Medication information;

              • Health insurance information;

              • Photo identification;

              • Employment information, and;

              • Other information that Defendant may deem necessary to provide care.

       23.      Additionally, Defendant may receive Private Information from other individuals

and/or organizations that are part of a patient’s “circle of care,” such as referring physicians,

customers’ other doctors, customers’ health plan(s), close friends, and/or family Members.

       24.      Because of the highly sensitive and personal nature of the information Defendant

acquires and stores with respect to patients, Defendant, upon information and belief, promises to,

among other things: keep customers’ PHI private; comply with healthcare industry standards

related to data security and Private Information; inform customers and patients of legal duties and

comply with all federal and state laws protecting customers’ and patients’ Private Information;


                                                 6
      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 7 of 47




only use and release customers’ Private Information for reasons that relate to medical care and

treatment; and provide adequate notice to customers if their Private Information is disclosed

without authorization.

       25.     As a condition of providing medical care Defendant requires that its customers

entrust it with Private Information.

       26.     By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, Defendant assumed legal and equitable duties and knew or should

have known that it was responsible for protecting Plaintiff’s and Class Members’ Private

Information from unauthorized disclosure.

       27.     Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.

       28.     Plaintiff and the Class had a reasonable expectation that Defendant would protect

the Sensitive Information provided to and created by it, especially because, given the publicity of

other data breaches and the significant impact they had, Defendant knew or should have known

that failing to adequately protect patient information could cause substantial harm.

       29.     Plaintiff and the Class Members relied on Defendant to implement and follow

adequate data security policies and protocols, to keep their Private Information confidential and

securely maintained, to use such Private Information solely for business and health care purposes,

and to prevent the unauthorized disclosures of the Private Information.

       30.     As described throughout this Complaint, Defendant did not reasonably protect,

secure, or store Plaintiff’s and the Class’s Sensitive Information prior to, during, or after the Data

Breach, but rather, enacted unreasonable data security measures that it knew or should have known

were insufficient to reasonably protect the highly sensitive information Defendant maintained.


                                                  7
      Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 8 of 47




Consequently, cybercriminals circumvented Defendant’s security measures, resulting in a

significant data breach.




                           THE CYBERATTACK AND DATA BREACH

        31.    Some date prior to September 1, 2022, one or more malicious actors gained access

to Defendant’s computer network and systems.8 The actor(s) had access to Defendant’s computer

network and systems for an unknown amount of time. (the “Data Breach”).

        32.    On September 1, 2022, Defendant became aware of the Data Breach when “cyber

criminals gained unauthorized access into various components of the OakBend Medical Center

(“OakBend”) computer network and that certain servers and computers were encrypted.”9 In

response, Defendant “took action to remediate this incident and hardened our system against future

attacks.”10

        33.    The investigation found the Data Breach resulted in the malicious actor(s) copying

and exfiltrating substantial amounts of patient PII and PHI.11 (collectively “Private Information”)

Specifically, the malicious actor(s) took files containing patient names, addresses, email addresses,

date of birth, Social Security Numbers, and medical information.12

        34.    On or about October 28, 2022, Defendant ultimately admitted to the Data Breach

and publicly acknowledged the data security incident to the United States Department of Health

and Human Services’ Office for Civil Rights (“DHHS”).13 On October 30, 2022, Defendant began



8
  Ex. 1.
9
  Id.
10
   Id.
11
   Ex. 2.
12
   Id.
13
            U.S.         DHHS            OFFICE             FOR          CIVIL             RIGHTS,
https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed Nov. 20, 2022).
                                                 8
        Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 9 of 47




notifying the 500,000 impacted individuals, including Plaintiff and members of the proposed

Class.14 In its Notice, Defendant admitted that:

                On September 1, 2022, we learned that cyber criminals had gained
                unauthorized access into various components of the OakBend Medical
                Center (“OakBend”) computer network and that certain servers and
                computers were encrypted. Immediately upon learning about this
                access and encryption, on the morning of September 1, 2022, we took
                action to remediate this incident and harden our system against future
                attacks.

                While we know that the cybercriminals had sufficient access to
                OakBend’s systems to encrypt our data, our investigation indicates that
                a limited amount of data was actually transferred out of the OakBend
                computing environment. For example, we do not believe that the
                cybercriminals were able to remove the entire medical record of
                OakBend’s patients. It does appear, however, that the cybercriminals
                were able to access and/or remove certain employee data sets and
                certain reports that included the personal and medical information
                related to our current and former patients, employees, and related
                individuals. In some instances, this information may have included the
                name, contact information (such as street and email address), social
                security number, and date of birth for the impacted individuals.15


          35.   Defendant identified only the following actions it undertook to mitigate and

remediate the harm caused by the Data Breach in its Notice Letter:

                We conducted a thorough review of the incident, and our IT team has worked
                diligently to restore the integrity of our network.

                Furthermore, we have implemented additional security measures designed to
                prevent a recurrence pf such an attack and to protect the privacy of our patients,
                employees, and community members.16

          36.   Upon information and belief, and based on the type of cyberattack, along with

public news reports, it is plausible and likely that Plaintiff’s Private Information was stolen in the

Data Breach. Plaintiff further believes her Private Information was likely subsequently sold on the

dark web following the Data Breach, as that is the modus operandi of all cybercriminals.




14
     Id.
15
     Ex. 1.
16
     Ex. 2.
                                                   9
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 10 of 47




       37.     Defendant had obligations created by HIPAA, contract, industry standards,

common law, and its own promises and representations made to Plaintiff and Class Members to

keep their Private Information confidential and to protect it from unauthorized access and

disclosure.

       38.     Plaintiff and Class Members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access.

       39.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in the healthcare industry preceding the

date of the breach.

       40.     In light of recent high profile data breaches at other healthcare partner and provider

companies, Defendant knew or should have known that its electronic records and patient and

customer Private Information would be targeted by cybercriminals and ransomware attack groups.

       41.     Indeed, cyberattacks on medical systems like Defendant have become so notorious

that the FBI and U.S. Secret Service have issued a warning to potential targets, so they are aware

of, and prepared for, a potential attack. As one report explained, “[e]ntities like smaller

municipalities and hospitals are attractive. . . because they often have lesser IT defenses and a high

incentive to regain access to their data quickly.”17

       42.     In fact, according to the cybersecurity firm Mimecast, 90% of healthcare

organizations experienced cyberattacks in the past year.18


17
      FBI, Secret Service Warn of Targeted, Law360 (Nov. 18, 2019),
https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-targeted-ransomware (last
visited June 23, 2021).
18
   See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, Security Magazine (Nov. 23,
2020),     https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-phishing-
attack.
                                                 10
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 11 of 47




       43.     Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.

       44.      Despite the abundance and availability of information regarding cybersecurity best

practices for the healthcare industry and the prevalence of health care data breaches, Defendant

inexplicably failed to adopt sufficient data security processes.

                       Defendant Failed to Comply with FTC Guidelines

       45.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

       46.     In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cyber-security guidelines for businesses. The guidelines

note that businesses should protect the personal customer information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems.19 The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating

someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and have a response plan ready in the event of a breach.20

       47.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords


19
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf (last visited Jan. 19, 2022).
20
   Id.
                                                 11
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 12 of 47




to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       48.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       49.     These FTC enforcement actions include actions against healthcare providers and

partners like Defendant. See, e.g., In the Matter of Labmd, Inc., A Corp, 2016-2 Trade Cas. (CCH)

¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that

LabMD’s data security practices were unreasonable and constitute an unfair act or practice in

violation of Section 5 of the FTC Act.”)

       50.     Defendant failed to properly implement basic data security practices.

       51.     Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to customers’ Private Information constitutes an unfair act or practice

prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       52.     Defendant was at all times fully aware of the obligation to protect the Private

Information of customers and patients. Defendant was also aware of the significant repercussions

that would result from its failure to do so.

                      Defendant Failed to Comply with Industry Standards

       53.     As shown above, experts studying cyber security routinely identify healthcare

providers as being particularly vulnerable to cyberattacks because of the value of the Private
                                                12
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 13 of 47




Information which they collect and maintain.

       54.     Several best practices have been identified that at a minimum should be

implemented by healthcare providers like Defendant, including but not limited to: educating all

employees; strong passwords; multi-layer security, including firewalls, anti-virus, and anti-

malware software; encryption, making data unreadable without a key; multi-factor authentication;

backup data; and limiting which employees can access sensitive data.

       55.     Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

       56.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       57.     These foregoing frameworks are existing and applicable industry standards in the

healthcare industry, and Defendant failed to comply with these accepted standards, thereby

opening the door to the cyber incident and causing the Data Breach.

      Defendant’s Conduct Violates HIPAA and Evidences Its Insufficient Data Security

       58.     HIPAA requires covered entities to protect against reasonably anticipated threats

to the security of sensitive patient health information.

       59.     Covered entities must implement safeguards to ensure the confidentiality, integrity,
                                                 13
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 14 of 47




and availability of PHI. Safeguards must include physical, technical, and administrative

components.

       60.     Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services (“HHS”) create rules to streamline the standards for

handling PII like the data Defendant left unguarded. The HHS subsequently promulgated multiple

regulations under authority of the Administrative Simplification provisions of HIPAA. These rules

include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. § 164.308(a)(1)(i); 45

C.F.R. § 164.308(a)(1)(ii)(D), and 45 C.F.R. § 164.530(b).

       61.     A Data Breach such as the one Defendant experienced, is considered a breach under

the HIPAA Rules because there is an access of PHI not permitted under the HIPAA Privacy Rule:

               A breach under the HIPAA Rules is defined as, “...the acquisition,
               access, use, or disclosure of PHI in a manner not permitted under
               the [HIPAA Privacy Rule] which compromises the security or
               privacy of the PHI.” See 45 C.F.R. 164.40

       62.     The Data Breach resulted from a combination of insufficiencies that demonstrate

Defendant failed to comply with safeguards mandated by HIPAA regulations.

                                  DEFENDANT’S BREACH

       63.     Defendant breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data. Defendant’s unlawful conduct includes, but is not limited to, the following acts

and/or omissions:

               a.     Failing to maintain an adequate data security system to reduce the risk of

                      data breaches and cyber-attacks;

               b.     Failing to adequately protect customers’ Private Information;

                                               14
Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 15 of 47




       c.    Failing to properly monitor its own data security systems for existing

             intrusions;

       d.    Failing to ensure that its vendors with access to its computer systems and

             data employed reasonable security procedures;

       e.    Failing to detect unauthorized ingress into its systems;

       f.    Failing to implement and monitor reasonable network segmentation to

             detect unauthorized travel within its systems, including to and from areas

             containing the most sensitive data;

       g.    Failing to detect unauthorized exfiltration of the most sensitive data on its

             systems;

       h.    Failing to train its employees in the proper handling of emails containing

             Private Information and maintain adequate email security practices;

       i.    Failing to ensure the confidentiality and integrity of electronic PHI it

             created, received, maintained, and/or transmitted, in violation of 45 C.F.R.

             § 164.306(a)(1);

       j.    Failing to implement technical policies and procedures for electronic

             information systems that maintain electronic PHI to allow access only to

             those persons or software programs that have been granted access rights in

             violation of 45 C.F.R. § 164.312(a)(1);

       k.    Failing to implement policies and procedures to prevent, detect, contain,

             and correct security violations in violation of 45 C.F.R. § 164.308(a)(1)(i);




                                      15
Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 16 of 47




       l.    Failing to implement procedures to review records of information system

             activity regularly, such as audit logs, access reports, and security incident

             tracking reports in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

       m.    Failing to protect against reasonably anticipated threats or hazards to the

             security or integrity of electronic PHI in violation of 45 C.F.R. §

             164.306(a)(2);

       n.    Failing to protect against reasonably anticipated uses or disclosures of

             electronic PHI that are not permitted under the privacy rules regarding

             individually identifiable health information in violation of 45 C.F.R. §

             164.306(a)(3);

       o.    Failing to ensure compliance with HIPAA security standard rules by its

             workforces in violation of 45 C.F.R. § 164.306(a)(4);

       p.    Failing to train all members of its workforces effectively on the policies and

             procedures regarding PHI as necessary and appropriate for the members of

             its workforces to carry out their functions and to maintain security of PHI,

             in violation of 45 C.F.R. § 164.530(b);

       q.    Failing to render the electronic PHI it maintained unusable, unreadable, or

             indecipherable to unauthorized individuals, as it had not encrypted the

             electronic PHI as specified in the HIPAA Security Rule by “the use of an

             algorithmic process to transform data into a form in which there is a low

             probability of assigning meaning without use of a confidential process or

             key” (45 CFR § 164.304’s definition of “encryption”);




                                       16
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 17 of 47




               r.         Failing to comply with FTC guidelines for cybersecurity, in violation of

                          Section 5 of the FTC Act;

               s.         Failing to adhere to industry standards for cybersecurity as discussed above;

                          and

               t.         Otherwise breaching its duties and obligations to protect Plaintiff’s and

                          Class Members’ Private Information.

        64.    Defendant negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ Private Information by allowing cyberthieves to access its computer network and

systems which contained unsecured and unencrypted Private Information.

        65.    Accordingly, as outlined below, Plaintiff and Class Members now face an increased

risk of fraud and identity theft. In addition, Plaintiff and the Class Members also lost the benefit

of the bargain they made with Defendant.

                    Cyberattacks and Data Breaches Cause Disruption and
                Put Consumers at an Increased Risk of Fraud and Identity Theft

        66.    Cyberattacks and data breaches at healthcare companies like Defendant are

especially problematic because they can negatively impact the overall daily lives of individuals

affected by the attack.

        67.    Researchers have found that among medical service providers that experience a

data security incident, the death rate among patients increased in the months and years after the

attack.21

        68.    Researchers have further found that at medical service providers that experienced

a data security incident, the incident was associated with deterioration in timeliness and patient


21
  See Nsikan Akpan, Ransomware and Data Breaches Linked to Uptick in Fatal Heart Attacks,
PBS (Oct. 24, 2019), https://www.pbs.org/newshour/science/ransomware-and-other-data-
breaches-linked-to-uptick-in-fatal-heart-attacks.
                                                   17
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 18 of 47




outcomes, generally.22

        69.     The United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft will face

“substantial costs and time to repair the damage to their good name and credit record.”23

        70.     That is because any victim of a data breach is exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal personally identifiable

information is to monetize it. They do this by selling the spoils of their cyberattacks on the black

market to identity thieves who desire to extort and harass victims, take over victims’ identities in

order to engage in illegal financial transactions under the victims’ names. Because a person’s

identity is akin to a puzzle, the more accurate pieces of data an identity thief obtains about a person,

the easier it is for the thief to take on the victim’s identity, or otherwise harass or track the victim.

For example, armed with just a name and date of birth, a data thief can utilize a hacking technique

referred to as “social engineering” to obtain even more information about a victim’s identity, such

as a person’s login credentials or Social Security number. Social engineering is a form of hacking

whereby a data thief uses previously acquired information to manipulate individuals into

disclosing additional confidential or personal information through means such as spam phone calls

and text messages or phishing emails.

        71.     The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (and consider an extended fraud alert that lasts for 7 years if someone


22
   See Sung J. Choi et al., Data Breach Remediation Efforts and Their Implications for Hospital
Quality, 54 Health Services Research 971, 971-980 (2019). Available at
https://onlinelibrary.wiley.com/doi/full/10.1111/1475-6773.13203.
23
   See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data Breaches Are
Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (2007). Available at https://www.gao.gov/new.items/d07737.pdf.
                                                   18
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 19 of 47




steals their identity), reviewing their credit reports, contacting companies to remove fraudulent

charges from their accounts, placing a credit freeze on their credit, and correcting their credit

reports.24

         72.   Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

         73.   Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name.

         74.   Moreover, theft of Private Information is also gravely serious because Private

Information is an extremely valuable property right.25

         75.   Its value is axiomatic, considering the value of “big data” in corporate America and

the fact that the consequences of cyber thefts include heavy prison sentences. Even this obvious

risk to reward analysis illustrates beyond doubt that Private Information has considerable market

value.

         76.   Theft of PHI, in particular, is gravely serious: “[a] thief may use your name or

health insurance numbers to see a doctor, get prescription drugs, file claims with your insurance


24
    See IdentityTheft.gov, Federal Trade Commission, https://www.identitytheft.gov/Steps (last
visited Jan. 19, 2022).
25
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
                                                  19
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 20 of 47




provider, or get other care. If the thief’s health information is mixed with yours, your treatment,

insurance and payment records, and credit report may be affected.”26

       77.     Drug manufacturers, medical device manufacturers, pharmacies, hospitals and

other healthcare service providers often purchase Private Information on the black market for the

purpose of target-marketing their products and services to the physical maladies of the data breach

victims themselves. Insurance companies purchase and use wrongfully disclosed PHI to adjust

their insureds’ medical insurance premiums.

       78.     It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs and when it is discovered, and also between when Private Information

and/or financial information is stolen and when it is used.

       79.     According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for
       up to a year or more before being used to commit identity theft. Further, once stolen
       data have been sold or posted on the Web, fraudulent use of that information may
       continue for years. As a result, studies that attempt to measure the harm resulting
       from data breaches cannot necessarily rule out all future harm.

See GAO Report, at p. 29.

       80.     Private Information is such a valuable commodity to identity thieves that once the

information has been compromised, criminals often trade the information on the “cyber black-

market” for years.

       81.     There is a strong probability that entire batches of stolen information have been

dumped on the black market and are yet to be dumped on the black market, meaning Plaintiff and

Class Members are at an increased risk of fraud and identity theft for many years into the future.


26
        See     Federal       Trade       Commission,        Medical          Identity      Theft,
http://www.consumer.ftc.gov/articles/0171-medical-identity-theft (last visited Jan. 19, 2022).
                                                20
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 21 of 47




       82.     Thus, Plaintiff and Class Members must vigilantly monitor their financial and

medical accounts for many years to come.

       83.     Private Information can sell for as much as $363 per record according to the Infosec

Institute.27 PII is particularly valuable because criminals can use it to target victims with frauds

and scams. Once PII is stolen, fraudulent use of that information and damage to victims may

continue for years.

       84.     For example, the Social Security Administration has warned that identity thieves

can use an individual’s Social Security number to apply for additional credit lines.28 Such fraud

may go undetected until debt collection calls commence months, or even years, later. Stolen Social

Security Numbers also make it possible for thieves to file fraudulent tax returns, file for

unemployment benefits, or apply for a job using a false identity.29 Each of these fraudulent

activities is difficult to detect. An individual may not know that his or her Social Security Number

was used to file for unemployment benefits until law enforcement notifies the individual’s

employer of the suspected fraud. Fraudulent tax returns are typically discovered only when an

individual’s authentic tax return is rejected.

       85.     Moreover, it is not an easy task to change or cancel a stolen Social Security number.

       86.     An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number may not be

effective, as “[t]he credit bureaus and banks are able to link the new number very quickly to the

old number, so all of that old bad information is quickly inherited into the new Social Security



27
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/.
28
   Identity Theft and Your Social Security Number, Social Security Administration (2018) at 1.
Available at https://www.ssa.gov/pubs/EN-05-10064.pdf (Jan. 19, 2022).
29
   Id at 4.
                                                 21
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 22 of 47




number.”30

        87.    This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit card

information, personally identifiable information and Social Security Numbers are worth more than

10x on the black market.”31

        88.    Medical information is especially valuable to identity thieves.

        89.    According to account monitoring company LogDog, coveted Social Security

numbers were selling on the dark web for just $1 in 2016 – the same as a Facebook account.32 That

pales in comparison with the asking price for medical data, which was selling for $50 and up.33

        90.    Because of the value of its collected and stored data, the medical industry has

experienced disproportionally higher numbers of data theft events than other industries.

        91.    For this reason, Defendant knew or should have known about these dangers and

strengthened its data and email handling systems accordingly. Defendant was put on notice of the

substantial and foreseeable risk of harm from a data breach, yet they failed to properly prepare for

that risk.

                            Plaintiff’s and Class Members’ Damages

        92.    To date, Defendant has done absolutely nothing to provide Plaintiff and the Class

Members with relief for the injury and damages they have suffered as a result of the Data Breach.


30
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft.
31
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html.
32
   See Omri Toppol, Email Security: How You Are Doing It Wrong & Paying Too Much, LogDog
(Feb. 14, 2016), https://getlogdog.com/blogdog/email-security-you-are-doing-it-wrong/.
33
   Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked Security
(Oct. 3, 2019), https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-
sometimes-crush-hospitals/#content.
                                                22
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 23 of 47




        93.    Plaintiff and Class Members have been damaged by the compromise of their Private

Information in the Data Breach.

        94.    Plaintiff’s name, address, date of birth, address, email address, Social Security.

Number, and medical information were all compromised in the Data Breach and are now in the

hands of the cybercriminals who accessed Defendant’s computer systems.

        95.    Since being notified of the Data Breach, Plaintiff has spent time dealing with the

impact of the Data Breach, valuable time Plaintiff otherwise would have spent on other activities,

including but not limited to work and/or recreation.

        96.    Due to the Data Breach, Plaintiff anticipate spending considerable time and money

on an ongoing basis to try to mitigate and address harms caused by the Data Breach. This includes

changing passwords, cancelling credit and debit cards, and monitoring her accounts for fraudulent

activity.

        97.    Plaintiff’s Private Information was compromised as a direct and proximate result

of the Data Breach.

        98.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at a present, imminent, immediate, and continuing increased risk of

harm from fraud and identity theft.

        99.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been forced to expend time dealing with the effects of the Data Breach.

        100.   Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses such

as loans opened in their names, medical services billed in their names, tax return fraud, utility bills

opened in their names, credit card fraud, and similar identity theft.




                                                  23
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 24 of 47




       101.    Plaintiff and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to more effectively target such schemes to Plaintiff and Class

Members. Plaintiff has already experienced various phishing attempts by telephone and through

electronic mail.

       102.    Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       103.    Plaintiff and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

       104.    Plaintiff and Class Members were also damaged via benefit-of-the-bargain

damages. Plaintiff and Class Members overpaid for a service that was intended to be accompanied

by adequate data security that complied with industry standards but was not. Part of the price

Plaintiff and Class Members paid to Defendant was intended to be used by Defendant to fund

adequate security of its computer system and Plaintiff’s and Class Members’ Private Information.

Thus, Plaintiff and the Class Members did not get what they paid for and agreed to.

       105.    Plaintiff and Class Members have spent and will continue to spend significant

amounts of time monitoring their medical accounts and sensitive information for misuse.

       106.    Plaintiff and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out-of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:


                                                 24
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 25 of 47




               a. Reviewing and monitoring sensitive accounts and finding fraudulent insurance

                   claims, loans, and/or government benefits claims;

               b. Purchasing credit monitoring and identity theft prevention;

               c. Placing “freezes” and “alerts” with reporting agencies;

               d. Spending time on the phone with or at financial institutions, healthcare

                   providers, and/or government agencies to dispute unauthorized and fraudulent

                   activity in their name;

               e. Contacting financial institutions and closing or modifying financial accounts;

                   and,

               f. Closely reviewing and monitoring Social Security Number, medical insurance

                   accounts, bank accounts, and credit reports for unauthorized activity for years

                   to come.

       107.    Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is not

accessible online and that access to such data is password protected.

       108.    Further, as a result of Defendant’s conduct, Plaintiff and Class Members are forced

to live with the anxiety that their Private Information—which contains the most intimate details

about a person’s life, including what ailments they suffer, whether physical or mental—may be

disclosed to the entire world, thereby subjecting them to embarrassment and depriving them of any

right to privacy whatsoever.




                                                25
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 26 of 47




       109.    As a direct and proximate result of Defendant’s actions and inactions, Plaintiff and

Class Members have suffered anxiety, emotional distress, and loss of privacy, and are at an

increased risk of future harm.

                                          Plaintiff’s Experience

       110.    Plaintiff Faniel received medical care from OakBend in the past and is still a patient

of OakBend. Upon information and belief, She was presented with standard medical forms to

complete prior to her service that requested her PII and PHI, including HIPAA and privacy

disclosure forms.

       111.    As part of her care and treatment, and as a requirement to receive Defendant’s

services, Plaintiff Faniel entrusted her Private Information to Defendant with the reasonable

expectation and understanding that Defendant would take at a minimum, industry standard

precautions to protect, maintain, and safeguard that information from unauthorized users or

disclosure, and would timely notify him of any data security incidents related to the same. Plaintiff

would not have used Defendant’s services had She known that Defendant would not take

reasonable steps to safeguard her Private Information.

       112.    In November 2022, Plaintiff Faniel received a letter from OakBend, dated October

30, 2022, notifying him that her Private Information had been improperly accessed and/or obtained

by unauthorized third parties. The notice indicated that Plaintiff Faniel’s Private Information,

including her name, address, email address, date of birth, Social Security number, and medical

information was compromised as a result of the Data Breach.

       113.    As a result of the Data Breach, Plaintiff Faniel made reasonable efforts to mitigate

the impact of the Data Breach after receiving the data breach notification letter, including but not

limited to researching the Data Breach and reviewing credit card and financial account statements.


                                                 26
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 27 of 47




She also intends to order a copy of her credit report and reach out to her insurance company to

review those records as well to ensure that She has not been subject to any fraud. She is also in the

process of changing passwords. She is also researching credit monitoring services to find an

affordable option.

       114.    Plaintiff Faniel has spent multiple hours and will continue to spend valuable time

She otherwise would have spent on other activities, including but not limited to work and/or

recreation, to mitigate against the attempted fraud and against any future identity theft and fraud.

As a direct and proximate result of the Data Breach, in October 2022, Plaintiff Faniel was notified

by her bank that an unknown third party made fraudulent purchases on her debit card amounting

to over $1,000 in charges. In addition, following the Data Breach, She experienced a substantial

number of spam emails, texts messages, and phone calls.

       115.    Plaintiff Faniel is very careful about sharing her sensitive PII and PHI. She has

never knowingly transmitted unencrypted sensitive PII over the internet or any other unsecured

source. Furthermore, Plaintiff Faniel stores any documents containing her sensitive information in

a safe and secure location or destroys the documents. Moreover, She diligently chooses unique

usernames and passwords for her various online accounts. Finally, Plaintiff Faniel has never

previously had her identity stolen.

       116.    Plaintiff Faniel suffered actual injury from having her Private Information

compromised as a result of the Data Breach including, but not limited to (a) actual fraud and

identity theft; (b) damage to and diminution in the value of her Private Information, a form of

property that Defendant obtained from Plaintiff Faniel; (c) violation of her privacy rights; (d) the

likely theft of her Private Information; and (e) imminent and impending injury arising from the

increased risk of identity theft and fraud.


                                                 27
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 28 of 47




       117.      As a result of the Data Breach, Plaintiff Faniel has also suffered emotional distress

as a result of the release of her Private Information, which She believed would be protected from

unauthorized access and disclosure, including anxiety about unauthorized parties viewing, selling,

and/or using her Private Information for purposes of identity theft and fraud. Plaintiff Faniel is

very concerned about identity theft and fraud, as well as the consequences of such identity theft

and fraud resulting from the Data Breach. Plaintiff also has suffered anxiety about unauthorized

parties viewing, using, and/or publishing of information related to her medical records and

prescriptions.

                                CLASS ACTION ALLEGATIONS

       118.      Plaintiff brings this action on behalf of himself and on behalf of all other persons

similarly situated (“the Class”).

       119.      Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

                 All individuals residing in the United States whose PII and/or PHI was
                 actually or potentially compromised during the period of unauthorized
                 access to Defendant’s computer systems as referenced in the Notice of
                 Data Privacy Incident Defendant sent to Plaintiff and other Class
                 Members on or around October 30, 2022 (the “Class”).

       120.      Excluded from the Class are Defendant’s officers, directors, and employees; any

entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of Defendant. Excluded also from the Class are members

of the judiciary to whom this case is assigned, their families and members of their staff.

       121.      Plaintiff reserves the right to amend or modify the Class or Subclass definitions as

this case progresses.




                                                  28
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 29 of 47




       122.    Numerosity. The Members of the Class are so numerous that joinder of all of them

is impracticable. While the exact number of Class Members is unknown to Plaintiff at this time,

based on information and belief, the Class consists hundreds of thousands of individuals, including

at least 500,000 individuals who were patients of Defendant whose sensitive data was

compromised in Data Breach.

       123.    Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

               a.     Whether Defendant unlawfully used, maintained, lost, or disclosed

                      Plaintiff’s and Class Members’ Private Information;

               b.     Whether Defendant failed to implement and maintain reasonable security

                      procedures and practices appropriate to the nature and scope of the

                      information compromised in the Data Breach;

               c.     Whether Defendant’s data security systems prior to and during the Data

                      Breach complied with applicable data security laws and regulations

                      including, e.g., HIPAA;

               d.     Whether Defendant’s data security systems prior to and during the Data

                      Breach were consistent with industry standards;

               e.     Whether Defendant owed a duty to Class Members to safeguard their

                      Private Information;

               f.     Whether Defendant breached the duty to Class Members to safeguard their

                      Private Information;




                                                29
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 30 of 47




               g.      Whether Defendant knew or should have known that its data security

                       systems and monitoring processes were deficient;

               h.      Whether Defendant should have discovered the Data Breach sooner;

               i.      Whether Plaintiff and Class Members suffered legally cognizable damages

                       as a result of Defendant’s misconduct;

               j.      Whether Defendant’s conduct was negligent;

               k.      Whether Defendant breached implied contracts with Plaintiff and Class

                       Members;

               l.      Whether Defendant were unjustly enriched by unlawfully retaining a

                       benefit conferred upon them by Plaintiff and Class Members;

               m.      Whether Defendant failed to provide notice of the Data Breach in a timely

                       manner, and;

               n.      Whether Plaintiff and Class Members are entitled to damages, civil

                       penalties, punitive damages, treble damages, and/or injunctive relief.

       124.    Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s information, like that of every other Class Member, was compromised in the Data

Breach.

       125.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Members of the Class. Plaintiff’s Counsel are competent and

experienced in litigating class actions.

       126.    Predominance. Defendant have engaged in a common course of conduct toward

Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’ data was stored on the

same computer system and unlawfully accessed in the same way. The common issues arising from


                                                30
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 31 of 47




Defendant’s conduct affecting Class Members set out above predominate over any individualized

issues. Adjudication of these common issues in a single action has important and desirable

advantages of judicial economy.

       127.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a Class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

       128.    Defendant has acted on grounds that apply generally to the Class as a whole, so that

Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.

       129.    Likewise, particular issues are appropriate for certification because such claims

present only particular, common issues, the resolution of which would advance the disposition of

this matter and the parties’ interests therein. Such particular issues include, but are not limited to:

                a.      Whether Defendant failed to timely and adequately notify the public of the

                        Data Breach;

                b.      Whether Defendant owed a legal duty to Plaintiff and the Class to exercise

                        due care in collecting, storing, and safeguarding their Private Information;


                                                  31
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 32 of 47




                c.      Whether Defendant’s security measures to protect its data systems were

                        reasonable in light of best practices recommended by data security experts;

                d.      Whether Defendant’s failure to institute adequate protective security

                        measures amounted to negligence;

                e.      Whether Defendant failed to take commercially reasonable steps to

                        safeguard consumer Private Information; and

                f.      Whether adherence to FTC data security recommendations, and measures

                        recommended by data security experts would have reasonably prevented

                        the Data Breach.

       130.    Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class Members’ names and addresses affected by the Data Breach. Class Members have

already been preliminarily identified and sent notice of the Data Breach by Defendant.

                                      CAUSES OF ACTION
                                       FIRST COUNT
                                          Negligence
                              (On Behalf of Plaintiff and the Class)

       131.    Plaintiff re-alleges and incorporates by reference all other paragraphs in the

Complaint as if fully set forth herein.

       132.    Defendant required customers, including Plaintiff and Class Members, to submit

non-public Private Information in the ordinary course of healthcare services.

       133.    By collecting and storing this data in its computer system and network, and sharing

it and using it for commercial gain, Defendant owed a duty of care to use reasonable means to

secure and safeguard its computer system—and Class Members’ Private Information held within

it—to prevent disclosure of the information, and to safeguard the information from theft.

Defendant’s duty included a responsibility to implement processes by which it could detect a
                                                32
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 33 of 47




breach of its security systems in a reasonably expeditious period of time and to give prompt notice

to those affected in the case of a data breach.

       134.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

       135.    Plaintiff and the Class are a well-defined, foreseeable, and probable group of

patients that Defendant was aware, or should have been aware, could be injured by inadequate data

security measures.

       136.    A large depository of highly valuable health care information is a foreseeable target

for cybercriminals looking to steal and profit from that sensitive information. Defendant knew or

should have known that, given its repository of a host of Private Information for hundreds of

thousands of patients posed a significant risk of being targeted for a data breach. Thus, Defendant

had a duty to reasonably safeguard its patients’ data by implementing reasonable data security

measures to protect against data breaches. The foreseeable harm to Plaintiff and the Class of

inadequate data security created a duty to act reasonably and safeguard the Private Information.

       137.    Defendant’s duty of care to use reasonable security measures also arose as a result

of the special relationship that existed between Defendant and patients, which is recognized by

laws and regulations including but not limited to HIPAA, as well as common law. Defendant was

in a superior position to ensure that their systems were sufficient to protect against the foreseeable

risk of harm to Class Members from a data breach.

       138.    Defendant’s duty to use reasonable security measures under HIPAA required

Defendant to “reasonably protect” confidential data from “any intentional or unintentional use or


                                                  33
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 34 of 47




disclosure” and to “have in place appropriate administrative, technical, and physical safeguards to

protect the privacy of protected health information.” 45 C.F.R. § 164.530(c)(1). Some or all of the

medical information at issue in this case constitutes “protected health information” within the

meaning of HIPAA.

       139.    In addition, Defendant has a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       140.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

       141.    Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant includes, but is not limited to, the following:

               a.      Failing to adopt, implement, and maintain adequate security measures to

                       safeguard Class Members’ Private Information;

               b.      Failing to adequately monitor the security of their networks and systems;

               c.      Failing to ensure that their email system had plans in place to maintain

                       reasonable data security safeguards;

               d.      Failing to have in place mitigation policies and procedures;

               e.      Allowing unauthorized access to Class Members’ Private Information;

               f.      Failing to detect in a timely manner that Class Members’ Private

                       Information had been compromised; and


                                                 34
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 35 of 47




               g.      Failing to timely notify Class Members about the Data Breach so that they

                       could take appropriate steps to mitigate the potential for identity theft and

                       other damages.

       142.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Furthermore, the

breach of security was reasonably foreseeable given the known high frequency of cyberattacks and

data breaches in the healthcare industry.

       143.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.

       144.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       145.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                      SECOND COUNT
                                      Negligence Per Se
                              (On Behalf of Plaintiff and the Class)

       146.    Plaintiff re-alleges and incorporates by reference all other paragraphs in the

Complaint as if fully set forth herein.

       147.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. § 45, Defendant has a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ Private Information.




                                                 35
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 36 of 47




       148.    Pursuant to HIPAA, 42 U.S.C. § 1302d, et seq., Defendant had a duty to implement

reasonable safeguards to protect Plaintiff’s and Class Members’ Private Information.

       149.    Pursuant to HIPAA, Defendant had a duty to render the electronic PHI it maintained

unusable, unreadable, or indecipherable to unauthorized individuals, as specified in the HIPAA

Security Rule by “the use of an algorithmic process to transform data into a form in which there is

a low probability of assigning meaning without use of a confidential process or key.” See definition

of encryption at 45 C.F.R. § 164.304.

       150.    Defendant breached its duties to Plaintiff and Class Members under the Federal

Trade Commission Act and HIPAA by failing to provide fair, reasonable, or adequate computer

systems and data security practices to safeguard Plaintiff’s and Class Members’ Private

Information.

       151.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

       152.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

       153.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

it was failing to meet its duties, and that Defendant’s breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       154.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.


                                                36
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 37 of 47



                                        THIRD COUNT
                                  Breach of Implied Contract
                            (On behalf of the Plaintiff and the Class)

       155.    Plaintiff re-alleges and incorporates by reference all other paragraphs in the

Complaint as if fully set forth herein.

       156.    Plaintiff and the Class Members entered into implied contracts with Defendant

under which Defendant agreed to safeguard and protect such information and to timely and

accurately notify Plaintiff and Class Members that their information had been breached and

compromised.

       157.    Plaintiff and the Class were required to and delivered their Private Information to

Defendant as part of the process of obtaining services provided by Defendant. Plaintiff and Class

Members paid money, or money was paid on their behalf, to Defendant in exchange for services.

       158.    Defendant solicited, offered, and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices. Plaintiff and Class Members

accepted Defendant’s offers and provided their Private Information to Defendant.

       159.    Defendant accepted possession of Plaintiff’s and Class Members’ Private

Information for the purpose of providing services or Plaintiff and Class Members.

       160.    In accepting such information and payment for services, Plaintiff and the other

Class Members entered into an implied contract with Defendant whereby Defendant became

obligated to reasonably safeguard Plaintiff’s and the other Class Members’ Private Information.

       161.    In delivering their Private Information to Defendant and paying for healthcare

services, Plaintiff and Class Members intended and understood that Defendant would adequately

safeguard the data as part of that service.

       162.    Upon information and belief, in its written policies, Defendant expressly and

impliedly promised to Plaintiff and Class Members that they would only disclose protected

                                               37
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 38 of 47




information and other Private Information under certain circumstances, none of which related to a

Data Breach as occurred in this matter.

       163.    The implied promise of confidentiality includes consideration beyond those pre-

existing general duties owed under HIPAA or other state of federal regulations. The additional

consideration included implied promises to take adequate steps to comply with specific industry

data security standards and FTC guidelines on data security.

       164.    The implied promises include but are not limited to: (1) taking steps to ensure that

any agents who are granted access to Private Information also protect the confidentiality of that

data; (2) taking steps to ensure that the information that is placed in the control of its agents is

restricted and limited to achieve an authorized medical purpose; (3) restricting access to qualified

and trained agents; (4) designing and implementing appropriate retention policies to protect the

information against criminal data breaches; (5) applying or requiring proper encryption; (6)

implementing multifactor authentication for access; and (7) taking other steps to protect against

foreseeable data breaches.

       165.    Plaintiff and the Class Members would not have entrusted their Private Information

to Defendant in the absence of such an implied contract.

       166.    Had Defendant disclosed to Plaintiff and the Class that they did not have adequate

computer systems and security practices to secure sensitive data, Plaintiff and the other Class

Members would not have provided their Sensitive Information to Defendant.

       167.    Defendant recognized that Plaintiff’s and Class Member’s Private Information is

highly sensitive and must be protected, and that this protection was of material importance as part

of the bargain to Plaintiff and the other Class Members.




                                                38
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 39 of 47




       168.    Plaintiff and the other Class Members fully performed their obligations under the

implied contracts with Defendant.

       169.    Defendant breached the implied contract with Plaintiff and the other Class

Members by failing to take reasonable measures to safeguard their Private Information as

described herein.

       170.    As a direct and proximate result of Defendant’s conduct, Plaintiff and the other

Class Members suffered and will continue to suffer damages in an amount to be proven at trial.

                                      FOURTH COUNT
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

       171.    Plaintiff re-alleges and incorporates by reference all other paragraphs in the

Complaint as if fully set forth herein.

       172.    This count is pleaded in the alternative to Count 3 (breach of implied contract).

       173.    Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including payments made by or on behalf of Plaintiff and the Class

Members.

       174.    As such, a portion of the payments made by or on behalf of Plaintiff and the Class

Members is to be used to provide a reasonable level of data security, and the amount of the portion

of each payment made that is allocated to data security is known to Defendant.

       175.    Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they purchased goods and services from Defendant and/or its agents and in so doing

provided Defendant with their Private Information. In exchange, Plaintiff and Class Members

should have received from Defendant the goods and services that were the subject of the

transaction and have their Private Information protected with adequate data security.


                                                39
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 40 of 47




       176.    Defendant knew that Plaintiff and Class Members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the Private Information

of Plaintiff and Class Members for business purposes.

       177.    Plaintiff and Class Members conferred a monetary benefit on Defendant, by paying

Defendant as part of rendering medical services, a portion of which was to have been used for data

security measures to secure Plaintiff’s and Class Members’ Personal Information, and by providing

Defendant with their valuable Personal Information.

       178.    Defendant was enriched by saving the costs it reasonably should have expended on

data security measures to secure Plaintiff’s and Class Members’ Personal Information. Instead of

providing a reasonable level of security that would have prevented the Data Breach, Defendant

instead calculated to avoid its data security obligations at the expense of Plaintiff and Class

Members by utilizing cheaper, ineffective security measures. Plaintiff and Class Members, on the

other hand, suffered as a direct and proximate result of Defendant’s failure to provide the requisite

security.

       179.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff and Class Members, because Defendant failed

to implement appropriate data management and security measures that are mandated by industry

standards.

       180.    Defendant acquired the monetary benefit and Personal Information through

inequitable means in that it failed to disclose the inadequate security practices previously alleged.

       181.    If Plaintiff and Class Members knew that Defendant had not secured their Personal

Information, they would not have agreed to provide their Personal Information to Defendant.

       182.    Plaintiff and Class Members have no adequate remedy at law.


                                                 40
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 41 of 47




       183.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity to control how their PII is used; (iii) the compromise, publication,

and/or theft of their Personal Information; (iv) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, and/or unauthorized use of their Private

Information; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from identity theft; (vi) the continued risk to their Private Information, which remains in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant fail

to undertake appropriate and adequate measures to protect Private Information in their continued

possession; and (vii) future costs in terms of time, effort, and money that will be expended to

prevent, detect, contest, and repair the impact of the Private Information compromised as a result

of the Data Breach for the remainder of the lives of Plaintiff and Class Members.

       184.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       185.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff and

Class Members overpaid for Defendant’s services.




                                                 41
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 42 of 47




                                      FIFTH COUNT
                         Intrusion Upon Seclusion/Invasion of Privacy
                             (On Behalf of Plaintiff and the Class)

       186.    Plaintiff re-alleges and incorporates by reference all other paragraphs in the

Complaint as if fully set forth herein.

       187.    The State of Texas recognizes the tort of Intrusion upon Seclusion, and adopts the

formulation of that tort found in the Restatement (Second) of Torts, which states:

               One who intentionally intrudes, physically or otherwise, upon the solitude
               or seclusion of another or his private affairs or concerns, is subject to
               liability to the other for invasion of his privacy, if the intrusion would be
               highly offensive to a reasonable person.

               Restatement (Second) of Torts§ 652B (1977).

       188.    Plaintiff and Class Members had a reasonable expectation of privacy in the Private

Information Defendant mishandled.

       189.    Defendant’s conduct as alleged above intruded upon Plaintiff’s and Class Members'

seclusion under common law.

       190.    By intentionally failing to keep Plaintiff’s and Class Members’ Private Information

safe, and by intentionally misusing and/or disclosing said information to unauthorized parties for

unauthorized use, Defendant intentionally invaded Plaintiff’s and Class Members’ privacy by:

               a.      Intentionally and substantially intruding into Plaintiff’s and Class

                       Members’ private affairs in a manner that identifies Plaintiff and Class

                       Members and that would be highly offensive and objectionable to an

                       ordinary person;

               b.      Intentionally publicizing private facts about Plaintiff and Class Members,

                       which is highly offensive and objectionable to an ordinary person; and

               c.      Intentionally causing anguish or suffering to Plaintiff and Class Members.

                                                42
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 43 of 47




       191.    Defendant knew that an ordinary person in Plaintiff’s or Class Members’ position

would consider Defendant’s intentional actions highly offensive and objectionable.

       192.    Defendant invaded Plaintiff’s and Class Members’ right to privacy and intruded

into Plaintiff and Class Members' private affairs by intentionally misusing and/or disclosing their

Private Information without their informed, voluntary, affirmative, and clear consent.

       193.    Defendant intentionally concealed from and delayed reporting to Plaintiff and Class

Members a security incident that misused and/or disclosed their Private Information without their

informed, voluntary, affirmative, and clear consent.

       194.    The conduct described above was at or directed at Plaintiff and the Class Members.

       195.    As a proximate result of such intentional misuse and disclosures, Plaintiff’s and

Class Members’ reasonable expectations of privacy in their Private Information was unduly

frustrated and thwarted. Defendant’s conduct amounted to a substantial and serious invasion of

Plaintiff’s and Class Members’ protected privacy interests causing anguish and suffering such that

an ordinary person would consider Defendant’s intentional actions or inaction highly offensive

and objectionable.

       196.    In failing to protect Plaintiff’s and Class Members' Private Information, and in

intentionally misusing and/or disclosing their Private Information, Defendant acted with

intentional malice and oppression and in conscious disregard of Plaintiff’s and Class Members’

rights to have such information kept confidential and private. Plaintiff, therefore, seeks an award

of damages on behalf of himself and the Class.




                                                 43
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 44 of 47




                                        SIXTH COUNT
                                    Breach of Fiduciary Duty
                               (On Behalf of Plaintiff and the Class)

          197.   Plaintiff re-alleges and incorporates by reference all other paragraphs in the

Complaint as if fully set forth herein.

          198.   In light of the special relationship between Defendant and Plaintiff and Class

Members, Defendant became a fiduciary by undertaking a guardianship of the Private Information

to act primarily for Plaintiff and Class Members, (1) for the safeguarding of Plaintiff’s and Class

Members’ Private Information; (2) to timely notify Plaintiff and Class Members of a Data Breach

and disclosure; and (3) to maintain complete and accurate records of what information (and where)

Defendant do store.

          199.   Defendant had a fiduciary duty to act for the benefit of Plaintiff and Class Members

upon matters within the scope of its relationship with its patients, in particular, to keep secure their

Private Information.

          200.   Defendant breached its fiduciary duty to Plaintiff and Class Members by failing to

diligently discovery, investigate, and give notice of the Data Breach in a reasonable and practicable

period.

          201.   Defendant breached its fiduciary duty to Plaintiff and Class Members by failing to

encrypt and otherwise protect the integrity of the systems containing Plaintiff’s and Class

Members’ Private Information.

          202.   Defendant breached its fiduciary duty owed to Plaintiff and Class Members by

failing to timely notify and/or warn Plaintiff and Class Members of the Data Breach.

          203.   Defendant breached its fiduciary duty to Plaintiff and Class Members by otherwise

failing to safeguard Plaintiff’s and Class Members’ Private Information.


                                                  44
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 45 of 47




       204.    As a direct and proximate result of Defendant’s breach of its fiduciary duty,

Plaintiff and Class Members have suffered and will suffer injury, including but not limited to: (i)

actual identity theft; (ii) the compromise, publication, and/or theft of their Private Information;

(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft and/or unauthorized use of their Private Information; (iv) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

and future consequences of the Data Breach, including but not limited to efforts spent researching

how to prevent, detect, contest, and recover from identity theft; (v) the continued risk to their

Private Information, which remains in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fail to undertake appropriate and adequate measures

to protect the Private Information in their continued possession; (vi) future costs in terms of time,

effort, and money that will be expended as result of the Data Breach for the remainder of the lives

of Plaintiff and Class Members; and (vii) the diminished value of Defendant’s services they

received.

       205.    As a direct and proximate result of Defendant’s breach of its fiduciary duty,

Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

            a) For an Order certifying this action as a Class action and appointing Plaintiff as Class

               Representative and her counsel as Class Counsel;

            b) For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and


                                                 45
     Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 46 of 47




                Class Members’ Private Information, and from refusing to issue prompt, complete

                and accurate disclosures to Plaintiff and Class Members;

            c) For equitable relief compelling Defendant to utilize appropriate methods and

                policies with respect to consumer data collection, storage, and safety, and to

                disclose with specificity the type of Personal Information compromised during the

                Data Breach;

            d) For equitable relief requiring restitution and disgorgement of the revenues

                wrongfully retained as a result of Defendant’s wrongful conduct;

            e) Ordering Defendant to pay for not less than three years of credit monitoring services

                for Plaintiff and the Class;

            f) For an award of actual damages, compensatory damages, statutory damages, and

                statutory penalties, in an amount to be determined, as allowable by law;

            g) For an award of punitive damages, as allowable by law;

            h) For an award of attorneys’ fees and costs, and any other expense, including expert

                witness fees;

            i) Pre- and post-judgment interest on any amounts awarded; and,

            j) Such other and further relief as this court may deem just and proper.

                                     JURY TRIAL DEMANDED

        Under Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any and

all issues in this action so triable as of right.

Dated: November 23, 2022                            /s/ Ryan L. Thompson
                                                    Ryan L. Thompson, Attorney-In-Charge
                                                    Texas Bar No. 24046969
                                                    Southern District of Texas Bar No. 602642
                                                    Thompson Law LLP
                                                    3300 Oak Lawn Ave., 3rd Floor

                                                      46
Case 4:22-cv-04092 Document 1 Filed on 11/23/22 in TXSD Page 47 of 47




                               Dallas, TX 75219
                               Telephone: (214) 755-7777
                               Facsimile: (214) 716-0116
                               rthompson@triallawyers.com

                               Brian C. Gudmundson**
                               Jason P. Johnston*
                               Michael J. Laird*
                               Rachel K. Tack*
                               ZIMMERMAN REED LLP
                               1100 IDS Center
                               80 South 8th Street
                               Minneapolis, MN 55402
                               Telephone: (612) 341-0400
                               Facsimile: (612) 341-0844
                               brian.gudmundson@zimmreed.com
                               jason.johnston@zimmreed.com
                               michael.laird@zimmreed.com
                               rachel.tack@zimmreed.com

                               Christopher D. Jennings*
                               Nathan I. Reiter III
                               THE JOHNSON FIRM
                               610 President Clinton Ave., Suite 300
                               Little Rock, AR 72201
                               Tel: (501) 372-1300
                               chris@yourattorney.com
                               nathan@yourattorney.com


                               * To be admitted pro hac vice
                               ** To assume role of Attorney-In-Charge
                                  upon admission pro hac vice
                               Counsel for Plaintiff and the Proposed Class




                                 47
